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                              UNITED STATES DISTRICT COURT
                                         DISTRICT OF NEW JERSEY
                                                (973) 776-7700
          CHAMBERS OF                                                        U.S. COURTHOUSE
    JAMES B. CLARK, III                                                      50 WALNUT STREET, ROOM 2060
                                                                             NEWARK, NJ 07102
UNITED STATES MAGISTRATE JUDGE



                                             October 13, 2022


                                            LETTER ORDER


    Re:     Milkowski v. Healthcare Revenue Recovery Group, LLC, et al.
            Civil Action No. 22-1334 (SDW)

    Dear Counsel:

    As discussed during the telephone conference held in this matter earlier today, the Court will

conduct a telephone status conference with the parties on January 12, 2023 at 10:30 AM. Counsel

for Defendant shall initiate the call.



    IT IS SO ORDERED.

                                                        s/ James B. Clark, III
                                                      JAMES B. CLARK, III
                                                      United States Magistrate Judge
